Case: 1:24-cv-01762 Document #: 1-2 Filed: 03/01/24 Page 1 of 7 PageID #:15

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Case: 1:24-cv-01762 Document #: 1-2 Filed: 03/01/24 Page 2 of 7 PageID #:16
Case: 1:24-cv-01762 Document #: 1-2 Filed: 03/01/24 Page 3 of 7 PageID #:17
Case: 1:24-cv-01762 Document #: 1-2 Filed: 03/01/24 Page 4 of 7 PageID #:18
Case: 1:24-cv-01762 Document #: 1-2 Filed: 03/01/24 Page 5 of 7 PageID #:19
Case: 1:24-cv-01762 Document #: 1-2 Filed: 03/01/24 Page 6 of 7 PageID #:20
Case: 1:24-cv-01762 Document #: 1-2 Filed: 03/01/24 Page 7 of 7 PageID #:21
